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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS                                        3:
                                                                                2011   FEB 17   PM        37
                                      AUSTIN DIVISION
                                                                                LL
  IN RE: WBH ENERGY, LP, WBH                     §
  ENERGY PARTNERS LLC, WBH                       §
  ENERGY GP, LLC                                 §
                                                 §
  U.S. ENERGY DEVELOPMENT                        §
  CORPORATION,                                   §
                     APPELLANT,                  §       CAUSE NO.   1: 16-C V-884-LY
                                                 §
  V.                                             §
                                                 §
   CL III FUNDING HOLDING                        §
   COMPANY, LLC,                                 §
                           APPELLEE.             §

                            MEMORANDUM OPINION AND ORDER

          This cause is an appeal of two orders entered on May 20, 2016, by the United States

   Bankruptcy Court for the Western District of Texas, Austin Division.        Before the court are

   Appellant's Brief filed August 19, 2016 (Clerk's Doe. No. 8), Appellees' Brief filed September

   19, 2016 (Clerk's Doe. No. 9), and Appellant's Reply   Brief filed October 19, 2016 (Clerk's Doe.

   No. 10). On November 21, 2016, the court entertained oral argument, at which all parties were

   represented by counsel. Having carefully considered the briefs, argument of counsel, applicable

   law, and record on appeal, the court concludes that the bankruptcy court's orders should be

   affirmed for the reasons to follow.

                                           I. Background

          In September 2011, WBH Energy LLC ("Debtor LLC") entered into a Joint Operating

   Agreement (the "Operating Agreement") with WBH Energy LP ("Debtor LP") and U.S. Energy

   Development Corporation ("U.S. Energy"), under which Debtor LLC was the operator, and

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   Debtor LP and U.S. Energy were the working interest owners. WBH Energy GP, LLC ("Debtor

   GP") was the general partner of Debtor LLC, but is not a party to the Operating Agreement. The

   Operating Agreement contains the following provision:


                 Costs and Attorneys' Fees: In the event any party is required to
                 bring legal proceedings to enforce any financial obligation of a
                 party hereunder, the prevailing party in such action shall be
                 entitled to recover all court costs, costs of collection, and a
                 reasonable attorney's fee, which the lien provided for herein shall
                 also secure.

          U.S. Energy brought suit in state court in December 2014 against Debtor LP and Debtor

  LLC, seeking to remove Debtor LLC as operator under the Operating Agreement (the "State

  Court Proceeding"). U.S. Energy obtained a temporary restraining order at the beginning of the

  case in December 2014, and ultimately voluntarily dismissed the case.

          On January 4, 2015, Debtor LP, Debtor LLC, and Debtor GP (collectively, "Debtors")

  each voluntarily filed for bankruptcy under Chapter    11   of the Bankruptcy Code ("Bankruptcy

  Proceeding"). The cases are jointly administered.

         U.S. Energy later filed an adversary proceeding in the bankruptcy court to remove Debtor

  LLC as operator under the Operating Agreement ("Operator Adversary Proceeding").              U.S.

  Energy obtained a preliminary injunction in the bankruptcy court removing Debtor LLC as

  operator.   The proceeding was ultimately dismissed pursuant to an agreement between U.S.

  Energy and the Debtors.

         U.S. Energy also filed an action in interpleader in the bankruptcy court to resolve billings

  U.S. Energy owed to Debtor LLC ("Interpleader Adversary Proceeding").            The interpleader

  action was disposed of by an agreed final judgment.


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          On September 9, 2015, Debtors sold substantially all of their assets to CL III Funding

   Holding Company, LLC ("CL III") pursuant to a sale approved by the bankruptcy court.

          In May 2015, U.S. Energy submitted to the bankruptcy court claims against Debtors in

   the amount of $11,400,000 for attorney's fees. U.S. Energy based its claims on the Costs-and-

   Attorneys'-Fees provision of the Operating Agreement and asserted a lien on the assets of the

   Debtors based on U.S. Energy's alleged entitlement to attorney's fees.      As then-owner of

   Debtors' assets, CL III objected to the allowance of the claims.      On May 20, 2016, the

   bankruptcy court rendered orders granting CL III's objections and denying U.S. Energy's claims,

   which U.S. Energy now appeals.


                                      II. Standard of Review

          On appeal, this court may affirm, modify, or reverse a bankruptcy court's judgment,

  order, or decree, or remand the matter at issue with instructions to the bankruptcy court to

   conduct further proceedings. See Fed. R. Bankr. 8013. The district court reviews the bankruptcy

   court's findings of fact under a clearly erroneous standard and conclusions of law de novo.

  Matter of Berryman Products, Inc., 159 F.3d 941, 943 (5th Cir. 1998). Mixed questions of fact

  and law are subject to de novo review. In re CPDC, Inc., 337 F.3d 436, 441 (5th Cir. 2003).


                                            III. Analysis

          U.S. Energy argues that the bankruptcy court erred in granting the objections of CL III

  and denying the secured claim of U.S. Energy to recover attorney's fees. U.S. Energy disputes

  the bankruptcy court's conclusion that U.S. Energy was not entitled to attorney's fees under the

  terms of the Operating Agreement.
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          The Operating Agreement states, "[tjhis agreement and all matters pertaining hereto,

   including but not limited to matters   of.   .   .   remedies   .   .    .   and interpretation or construction, shall

   be governed and determined by the law of the state in which the Contract Area is located." The

   Contract Areas as defined in the contract are all in the state of Texas. The court will therefore

   apply Texas law. See DeSantis v. Wackenhurt Corp., 793 S.W.2d 670, 677 (Tex. 1990).

          Under Texas law, contracting parties may set their own standard for recovery of

   attorney's fees. Intercontinental Group Partnership                 v.       KB Home Lone Star, 295 S.W.3d 650,

   653 (Tex. 2009); Hometown 2006-1 1925 Valley View                       v.    Prime Income Asset Management, 595

   F. App'x 306, 313 (5th Cir. 2014). To determine whether U.S. Energy is entitled to attorney's

   fees, this court will look to the requirements set by the parties in the Operating Agreement.


          In order for U.S. Energy to recover costs and attorney's fees under the Operating

   Agreement, U.S. Energy must: (1) be required (2) to bring a legal proceeding (3) to enforce a

   financial obligation, and (4) be the prevailing party of those proceedings. U.S. Energy cites four

   proceedings as the basis of U.S. Energy's entitlement to costs and attorney's fees: the State Court

   Proceeding, the Operator Adversary Proceeding, the Bankruptcy Proceeding, and the

   Interpleader Adversary Proceeding.

      A. State Court Proceeding and Operator Adversary Proceeding


          In the State Court Proceeding and Bankruptcy Operator Adversary Proceeding, U.S.

   Energy sought to remove Debtor LLC as operator.                              First, U.S. Energy did not bring these

   proceedings for the purpose of enforcing a financial obligation. The bankruptcy court referred to

   Black's Law Dictionary and Merriam-Webster Dictionary to determine that "financial


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   obligation" means a "monetary or pecuniary obligation." U.S. Energy disputes the bankruptcy

   court's definition, saying that the court effectively construed the term to require U.S. Energy to

   obtain a monetary payment. U.S. Energy argues that a financial obligation is not necessarily an

   obligation involving payment.

          At the beginning of the section containing the Costs-and-Attorneys'-Fees provision, the

   Operating Agreement states, "[i]f any party fails to discharge any financial obligation under this

   agreement   .   . .   within the period required for such payment hereunder                .   .   .   the remedies specified

  below shall be applicable" (emphasis added). The court concludes that under the terms of the

   Operating Agreement, a financial obligation means an obligation involving payment. The main

   issue and relief sought and obtained by U.S. Energy in both the State Court Proceeding and

  Operator Adversary Proceeding were to remove Debtor LLC as operator and have U.S. Energy

  named as successor operator. U.S. Energy does not dispute this. The court in each proceeding

  ordered only injunctive relief, and neither court ordered a monetary judgment.

          Second, U.S. Energy argues that U.S. Energy did enforce a financial obligation because it

  was necessary for U.S. Energy to become operator in order to subsequently enforce the financial

   obligations of Debtor LLC and Debtor LP. Even before it became operator, U.S. Energy could

  have brought a proceeding to enforce Debtor LP and Debtor LLC's financial obligations. Under

  the Operating Agreement, "non-defaulting parties          .   .   .   may sue   .   .   .   to collect the amounts in

  default." U.S. Energy therefore was not required to bring the operator removal proceedings to

   enforce a financial obligation as required under the Operating Agreement for a party to be

  entitled to attorney's fees.




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           The court concludes U.S. Energy was not required to bring the State Court Proceeding or

  the Operator Adversary Proceeding for the purpose of enforcing a financial obligation, and that

   the proceedings were not brought to enforce a financial obligation. U.S. Energy therefore fails to

  meet the first and third requirements of the Costs-and-Attorneys' -Fees provision of the Operating

   Agreement.

      B.   Bankruptcy Proceeding

           The next proceeding U.S. Energy points to is the Bankruptcy Proceeding. U.S. Energy

  asserts that it prevailed in that proceeding because the Confirmed Plan of Reorganization

  rendered by the bankruptcy court continued U.S. Energy's status as substitute operator.

  However, the Confirmed Plan of Reorganization resulted from the Debtors' voluntary petitions

  for relief. U.S. Energy did not bring the bankruptcy proceeding and therefore fails the second

  requirement to recover costs and attorney's fees under the Operating Agreement.

      C. Interpleader Adversary Proceeding

           Finally, U.S. Energy asserts it is entitled to costs and attorney's fees because U.S. Energy

  brought an interpleader action to determine the appropriate payment for approximately $1.9

  million representing joint-interest billings that U.S. Energy admits it owed to Debtor LLC. The

  proceeding resulted in an agreed final judgment pursuant to which the court distributed funds

   deposited by U.S. Energy into the court registry to creditors of Debtor LLC. U.S. Energy did not

  bring the Interpleader Adversary Proceeding to    enforce   an obligation, but to determine the proper

  payees for its own obligation. U.S. Energy therefore fails to meet the third requirement of the

   Costs-and-Attorneys'-Fees provision with regard to the Interpleader Adversary Proceeding.
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                                           III. Conclusion

          U.S. Energy is not entitled to recover attorney's fees because U.S. Energy has not

   identified proceedings that meet the requirement for an award of attorney's fees under the

   Operating Agreement.     Accordingly, the court concludes that the bankruptcy court correctly

   granted objections filed by CL III to the secured claims of U.S. Energy.

          IT IS THEREFORE ORDERED that the Opinion on Consolidated Objections to U.S.

   Energy Development Corporation Claims and Order Granting Consolidated Objections to U.S.

   Energy Development Corporation Claims, each rendered by the United States Bankruptcy Court

   for the Western District of Texas, Austin Division on May 20, 2016, are AFFIR1VIED.

          SIGNED this                day of February, 2017.



                                                LE   EAKEL
                                                UN TED STATES DIS RICT JUDGE




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